Case 1:22-cv-23384-BB Document 32 Entered on FLSD Docket 05/12/2023 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           Case No. 22-cv-23384-BLOOM/Otazo-Reyes

 AUGUSTINA SANTIAGO,

        Plaintiff,

 v.

 UNIVERSITY OF MIAMI,

       Defendant.
 __________________________/

                         ORDER OF DISMISSAL WITH PREJUDICE

        THIS CAUSE is before the Court upon the parties’ Stipulation for Dismissal with

 Prejudice, ECF No. [31] (“Stipulation”), filed on May 11, 2023. The Court has carefully reviewed

 the Stipulation, the record in this case, and is otherwise fully advised.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

            1. The Stipulation, ECF No. [31], is APPROVED;

            2. The above-styled case is DISMISSED WITH PREJUDICE;

            3. Each party shall bear its own attorneys’ fees and costs;

            4. To the extent not otherwise disposed of, all pending motions are DENIED AS

                MOOT and all deadlines are TERMINATED;

            5. The Clerk of Court is directed to CLOSE this case.
Case 1:22-cv-23384-BB Document 32 Entered on FLSD Docket 05/12/2023 Page 2 of 2

                                             Case No. 22-cv-23384-BLOOM/Otazo-Reyes


        DONE AND ORDERED in Chambers at Miami, Florida, on May 11, 2023.




                                                _________________________________
                                                BETH BLOOM
                                                UNITED STATES DISTRICT JUDGE
 Copies to:   Counsel of Record




                                         2
